         Case 1:20-cv-01602-LJV Document 9 Filed 11/18/20 Page 1 of 2


TINITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA,
                              Plaintiff
            -v-

THE PREMISES AND REAL PROPERTY WTTH                              20-cY-1602-LJV
BUILDINGS, APPURTENANCES, AND
IMPROVEMENTS AT 132 LAKEFRONT BOULEVARD
IINIT 601, BIIFFALO, NEW YORK, TIIAT IS, ALL
THAT TRACT OR PARCEL OF LAND, SITUATED
IN TI{E CITY OF BUFFALO, COUNTY
OF EzuE, STATE OF NEW YORK, AND MORE
PARTICULARLY DESCRIBED IN A CERTAIN
DEED RECORDED IN T}IE ERTE COUNTY
CLERK'S OFFICE IN BOOK 11275, PAGE 6575, et. al.,

                             Defendants




                            NOTICE OF MOTION


MOYING PARTY:                        Plaintiff

PLACE:                               Hon. Lawrence J. Vilardo
                                     U.S. District Court
                                     2Niagaru Square
                                     Buffialo, New York 14202

RETIJRN DATE:                        To be determined by the Court

RELIEF SOUGIIT:                      Respondents respectfully move the Court for an
                                     Order Sealing the Affidavit of Special Agent Jason
                                     A. Kammeraad and its attached Exhibits that are
                                     referenced and incorporated     in    the Verified
                                     Complaint for Forfeiture, pursuant to Rule 5.3 of
                                     the Local Rules of Civil Procedure.

PAPERS SUBMITTED:                    Amended Affidavit ofAUSA Grace M. Carducci,
                                     sworn to on the 9fr day of November,2020
       Case 1:20-cv-01602-LJV Document 9 Filed 11/18/20 Page 2 of 2



                                  JAMES P. KENNEDY, JR.
                                  United States Attorney
                                  Westem District of New York




                            By:           M.
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                                  (s8s) 263-6760
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DATED: November L7, 2020
